Case 2:23-cv-00050-BMM Document 55-2 Filed 11/28/23 Page 1 of 5




                  Exhibit 2
        House Bill 359, Version 3
            (April 14, 2023)
                Case 2:23-cv-00050-BMM Document 55-2 Filed 11/28/23 Page 2 of 5
 - 2023
68th Legislature 2023                                                                                           HB0359.3



  1                                                  HOUSE BILL NO. 359

  2       INTRODUCED BY B. MITCHELL, E. BUTTREY, M. CUFFE, D. SALOMON, J. READ, T. MCGILLVRAY, K.

  3       REGIER, L. JONES, E. BUTCHER, B. KEENAN, C. GLIMM, G. HERTZ, M. LANG, D. LENZ, J. HINKLE, F.

  4     MANDEVILLE, T. MANZELLA, W. MCKAMEY, M. NOLAND, S. HINEBAUCH, S. GUNDERSON, M. REGIER,

  5         D. LOGE, R. FITZGERALD, F. ANDERSON, L. SHELDON-GALLOWAY, J. TREBAS, D. BARTEL, C.

  6       KNUDSEN, B. USHER, S. VINTON, B. BEARD, M. HOPKINS, N. DURAM, J. FULLER, R. KNUDSEN, K.

  7         BOGNER, B. GILLESPIE, J. KASSMIER, B. MERCER, T. MOORE, B. LER, B. PHALEN, F. NAVE, J.

  8           CARLSON, L. BREWSTER, K. ZOLNIKOV, A. REGIER, L. REKSTEN, P. FIELDER, S. KERNS, S.

  9      GALLOWAY, S. GIST, J. SCHILLINGER, K. SEEKINS-CROWE, M. MALONE, J. GILLETTE, C. HINKLE, M.

 10       BERTOGLIO, R. MARSHALL, C. FRIEDEL, S. ESSMANN, M. YAKAWICH, T. BROCKMAN, T. SMITH, R.

 11        MINER, G. PARRY, G. OBLANDER, N. NICOL, L. DEMING, D. EMRICH, S. VANCE, T. VERMEIRE, C.

 12             SPRUNGER, T. FALK, J. BERGSTROM, G. KMETZ, P. GREEN, J. ETCHART, B. BARKER, L.

 13                                        HELLEGAARD, Z. WIRTH, N. HASTINGS

 14

 15    A BILL FOR AN ACT ENTITLED: “AN ACT PROHIBITING MINORS FROM ATTENDING DRAG SHOWS;

 16    PROHIBITING MINORS FROM ENTERING SEXUALLY ORIENTED BUSINESSES; PROHIBITING DRAG

 17    PERFORMANCES IN LIBRARIES OR SCHOOLS THAT RECEIVE STATE FUNDING; PROHIBITING DRAG

 18    PERFORMANCES ON PUBLIC PROPERTY WHERE CHILDREN ARE PRESENT; PROHIBITING DRAG

 19    PERFORMANCES IN A LOCATION OWNED BY AN ENTITY THAT RECEIVES STATE FUNDING;

 20    PROVIDING DEFINITIONS; AND PROVIDING PENALTIES; AND PROVIDING AN IMMEDIATE EFFECTIVE

 21    DATE.”

 22

 23    BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MONTANA:

 24

 25             NEW SECTION. Section 1.       Definitions. As used in [sections 1 through AND 2], the following

 26    definitions apply:

 27             (1)     "Drag performance" means a AN OBSCENE performance in which a performer exhibits a gender

 28    identity that is different than the performer's gender assigned at birth using clothing, makeup, or other physical

                                                              -1-                      Authorized Print Version – HB 359
                Case 2:23-cv-00050-BMM Document 55-2 Filed 11/28/23 Page 3 of 5
 - 2023
68th Legislature 2023                                                                                           HB0359.3


  1    markers and sings, lip syncs, dances, or otherwise performs for entertainment to appeal to a prurient interest

  2    THAT FEATURES DRAG QUEENS, TOPLESS DANCERS, EXOTIC DANCERS, STRIPPERS, OR MALE OR FEMALE

  3    IMPERSONATORS OR SIMILAR ENTERTAINERS WHO PROVIDE ENTERTAINMENT THAT APPEALS TO A PRURIENT INTEREST IN

  4    SEX, REGARDLESS OF WHETHER OR NOT PERFORMED FOR CONSIDERATION.

  5            (2)        "DRAG QUEEN" MEANS A MALE OR FEMALE PERFORMER WHO ADOPTS A FLAMBOYANT OR PARODIC

  6    FEMININE PERSONA WITH GLAMOROUS OR EXAGGERATED COSTUMES AND MAKEUP.

  7            (3)        "DRAG STORY HOUR" MEANS AN EVENT HOSTED BY A DRAG QUEEN WHO READS CHILDREN'S BOOKS.

  8            (4)        "EXOTIC DANCER" MEANS AN INDIVIDUAL WHO DANCES OR PERFORMS IN A SEDUCTIVE OR

  9    PROVOCATIVE MANNER WHILE SCANTILY DRESSED OR WHILE GRADUALLY REMOVING THEIR CLOTHES PIECE BY PIECE .

 10            (5)        "MINOR" MEANS AN INDIVIDUAL UNDER 18 YEARS OF AGE.

 11            (2)(6)     "Nude" means:

 12            (a)        entirely unclothed; or

 13            (b)        clothed in a manner that leaves uncovered or visible through less than fully opaque clothing

 14    any portion of the breast below the top of the areola of the breasts if the person is female or any portion of the

 15    genitals or buttocks.

 16            (7)        "OBSCENE" HAS THE SAME MEANING AS PROVIDED IN 45-8-201.

 17            (3)(8)     "PRURIENT INTEREST" MEANS HAVING A TENDENCY TO EXCITE LUSTFUL THOUGHTS. "PRURIENT

 18    INTEREST IN SEX" HAS THE SAME MEANING AS PROVIDED IN 45-8-205.

 19            (3)(4)(9)          "Sexually oriented business" means a nightclub, bar, restaurant, or similar commercial

 20    enterprise that:

 21            (a)        provides for an audience of two or more individuals:

 22            (i)        live nude entertainment or live nude performances; or

 23            (ii)       a drag performance; and

 24            (b)        authorizes on-premises consumption of alcoholic beverages.

 25

 26            NEW SECTION. Section 2.             Restrictions on sexually oriented businesses -- penalty. (1) A

 27    sexually oriented business may not allow a person under 18 years of age to enter the premises of the business

 28    DURING A LIVE NUDE PERFORMANCE OR DRAG PERFORMANCE.



                                                                 -2-                   Authorized Print Version – HB 359
                Case 2:23-cv-00050-BMM Document 55-2 Filed 11/28/23 Page 4 of 5
 - 2023
68th Legislature 2023                                                                                             HB0359.3


  1            (2)      The owner, operator, manager, or employee of a sexually oriented business who is convicted

  2    of violating this section shall be fined not less than $1,000 or more than $5,000 for the first offense, not less

  3    than $2,500 or more than $5,000 for the second offense, and for third and subsequent offenses be fined

  4    $10,000 and, if applicable, the county or municipality shall revoke the business license held by the offender.

  5

  6            NEW SECTION. Section 3.         Drag WHERE DRAG performances ARE prohibited in publicly funded

  7    libraries or schools. (1) A library that receives any form of funding from the state may not allow a drag

  8    performance OR DRAG STORY HOUR as defined in [section 1] on its premises during its regular operating hours.

  9            (2)      A school, AS DEFINED IN 20-6-501, that receives any form of funding from the state may not

 10    allow a drag performance OR DRAG STORY HOUR as defined in [section 1] on its premises during school hours or

 11    at any school-sanctioned extracurricular activity.

 12            (3)      A MUSEUM THAT RECEIVES ANY FORM OF FUNDING FROM THE STATE MAY NOT ALLOW A DRAG

 13    PERFORMANCE OR DRAG STORY HOUR AS DEFINED IN [SECTION 1] ON ITS PREMISES.

 14            (4)      ANY FACILITY WHERE AT LEAST 10% OF ITS OPERATING BUDGET IS FUNDED BY THE STATE OR LOCAL

 15    GOVERNMENT OR MUNICIPALITY MAY NOT HOST A DRAG PERFORMANCE OR DRAG STORY HOUR AS DEFINED IN [SECTION

 16    1].

 17            (3)      A DRAG PERFORMANCE IS PROHIBITED:

 18            (A)      ON PUBLIC PROPERTY IN ANY LOCATION WHERE THE PERFORMANCE IS IN THE PRESENCE OF AN

 19    INDIVIDUAL UNDER THE AGE OF 18; AND

 20            (B)      IN A LOCATION OWNED BY AN ENTITY THAT RECEIVES ANY FORM OF FUNDING FROM THE STATE.

 21            (3)(4)   A library, a school, or OR library or school personnel, A PUBLIC EMPLOYEE, OR AN ENTITY

 22    DESCRIBED IN SUBSECTION (3)(B) OR AN EMPLOYEE OF THE ENTITY convicted of violating the prohibition under this

 23    section shall be fined $5,000 and, if applicable, the board of public education shall initiate proceedings MUST BE

 24    INITIATED to suspend the teacher, administrator, or specialist certificate of the offender under 20-4-110 for 1

 25    year. If an offender's certificate has previously been suspended pursuant to this subsection (3) (4), the board of

 26    public education shall initiate proceedings MUST BE INITIATED to permanently revoke the teacher, administrator,

 27    or specialist certificate of the offender under 20-4-110 on a subsequent violation of this section.

 28


                                                               -3-                      Authorized Print Version – HB 359
                 Case 2:23-cv-00050-BMM Document 55-2 Filed 11/28/23 Page 5 of 5
 - 2023
68th Legislature 2023                                                                                              HB0359.3


  1              NEW SECTION. Section 4.        Codification instruction. (1) [Sections 1 and 2] are intended to be

  2    codified as an integral part of Title 45, chapter 8, and the provisions of Title 45, chapter 8, apply to [sections 1

  3    and 2].

  4              (2)    [Section 3] is intended to be codified as an integral part of Title 20, chapter 7, part 1, and the

  5    provisions of Title 20, chapter 7, part 1, apply to [section 3].

  6

  7              NEW SECTION. SECTION 5. SEVERABILITY. IF A PART OF [THIS ACT] IS INVALID, ALL VALID PARTS THAT ARE

  8    SEVERABLE FROM THE INVALID PART REMAIN IN EFFECT. IF A PART OF [THIS ACT] IS INVALID IN ONE OR MORE OF ITS

  9    APPLICATIONS, THE PART REMAINS IN EFFECT IN ALL VALID APPLICATIONS THAT ARE SEVERABLE FROM THE INVALID

 10    APPLICATIONS.

 11

 12              NEW SECTION. SECTION 6. EFFECTIVE DATE. [THIS ACT] IS EFFECTIVE ON PASSAGE AND APPROVAL.

 13                                                            - END -




                                                                 -4-                     Authorized Print Version – HB 359
